Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 1 of 26 PageID 606




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

United States ex rel. Clarissa Zafirov,

       Plaintiff/Relator,

v.                                                      CASE NO. 8:19-cv-01236-SDM-SPF

Florida Medical Associates, LLC
d/b/a VIPcare; Physician Partners,
LLC; Physician Partners Specialty
Services, LLC; Sun Labs USA, Inc.;
Anion Technologies, LLC; Anthem,
Inc.; Freedom Health, Inc.; Optimum
Healthcare, Inc.; and Siddhartha Pagidipati,

       Defendants.
                                      /

    FLORIDA MEDICAL ASSOCIATES, LLC, PHYSICIAN PARTNERS, LLC,
 PHYSICIAN PARTNERS SPECIALTY SERVICES, LLC, SUN LABS USA, INC., AND
   ANION TECHNOLOGIES, LLC’S MOTION TO DISMISS COMPLAINT FOR
                    FAILURE TO STATE A CLAIM

       The purported whistleblower in this case, Clarissa Zafirov, is a relatively junior physician

who performed primary care services at Florida Medical Associates, LLC (“FMA”) for only seven

months before filing her qui tam suit. She was an employee of FMA, where she began working

shortly after she completed her residency program. She was not just new to the practice of

medicine; she also had no prior experience with Medicare Advantage, a specialized federal

healthcare program that is at the heart of this case. Zafirov’s lack of understanding of Medicare

Advantage, and her lack of knowledge about billing practices, is evident throughout her complaint.

       The fundamental errors in Zafirov’s complaint stem not only from her inexperience with

Medicare Advantage, but also from her lack of first-hand knowledge about any alleged false

claims. Her tenure as an employee was narrowly circumscribed: she saw a limited number of


                                               Page 1
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 2 of 26 PageID 607




patients at one of FMA’s smaller offices in Venice, Florida. Neither she nor anyone in her office

ever submitted a claim to a Medicare Advantage Organization, much less to the government.

Neither she nor anyone in her office ever submitted risk adjustment score computations for

patients. Neither she nor anyone in her office in Venice ever reviewed the payments that the

government made to Medicare Advantage Organizations. 1

       Against this backdrop, Defendants FMA, Physician Partners, LLC (“Physician Partners”),

Physician Partners Specialty Services, LLC (“Physician Partners Specialty Services”), Sun Labs

USA, Inc. (“Sun Labs”), and Anion Technologies, LLC (“Anion”) (collectively, the “Provider

Defendants”) move to dismiss Zafirov’s complaint.


                                           ARGUMENT

       Zafirov’s complaint is legally deficient for at least six reasons: (1) it fails to plead fraud

with sufficient particularity; (2) Zafirov has not and cannot show that any false claim was material

to a government payment decision; (3) Zafirov’s allegations are implausible; (4) the complaint is

barred by the first-to-file doctrine; (5) Zafirov’s allegations were publicly disclosed years ago; and

(6) the complaint is foreclosed by the government action bar. Given these defects, and Zafirov’s

lack of knowledge about any billing practices at any Defendant, leave to amend would be futile.




       1
         The Medicare Advantage Organizations named here are Freedom Health, Inc.
(“Freedom”) and Optimum Healthcare, Inc. (“Optimum”) (collectively, the “Medicare Advantage
Defendants”).
                                          Page 2
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 3 of 26 PageID 608




   I.      Zafirov has not pleaded fraud with particularity.

           A. The Complaint impermissibly lumps all defendants together without specifying who
              did what.

        As a threshold defect, the Complaint fails because it alleges every defendant did everything

wrong. This type of conclusory pleading is impermissible. Courts routinely dismiss complaints

that “assert[] multiple claims against multiple defendants without specifying which of the

defendants are responsible for which acts or omissions.” Weiland v. Palm Beach Cty. Sheriff’s

Office, 792 F.3d 1313, 1323 (11th Cir. 2015). The Eleventh Circuit “ha[s] condemned repeatedly”

this style of complaint. Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001).

        The Complaint names nine different defendants but fails to specify who did what, much

less when, where, and how. Instead, Zafirov lumps together five separate corporate entities—

FMA, Physician Partners, Physician Partners Specialty Services, and Sun Labs—as the “PO

Defendants” and then makes collective assertions of fraud against them. She makes no allegations

whatsoever about Physician Partners Specialty Services, but simply identifies it as a party. Compl.

¶ 7.c. Her only specific allegation about Physician Partners is that it gave doctors a manual on how

to use the 5 Star Checklists. Compl. ¶¶ 55, 62. And her only specific allegation about Sun Labs is

that it issued her paycheck. Compl. ¶¶ 6, 7.d. Because Zafirov does not allege the role of each

defendant in the alleged scheme, she cannot plausibly allege that the defendants acted knowingly

in the scheme. See Universal Health Servs., Inc. v. United States ex rel. Escobar, 136 S. Ct. 1989,

2002 (2016) (noting that the False Claims Act’s scienter requirement is “rigorous”).

           B. Zafirov has not pleaded fraud with the requisite particularity

        Putting aside the plural pleading, the complaint fails to plead even one false claim with the

requisite particularity. “The submission of a false claim is . . . the sine qua non of a False Claims

Act violation.” United States ex rel. Clausen v. Lab. Corp. of Am., 290 F.3d 1301, 1302 (11th Cir.

                                               Page 3
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 4 of 26 PageID 609




2002). Allegations of purportedly “improper practices alone are insufficient to state a claim under

the False Claims Act absent allegations that a specific fraudulent claim was in fact submitted to

the government.” Corsello v. Lincare, Inc., 428 F.3d 1008, 1014 (11th Cir. 2005).

       To plead with particularity her direct false claims count under 31 U.S.C. § 3729(a)(1)(A),

Zafirov must “allege the ‘who,’ ‘what,’ ‘when,’ and ‘how’ of fraudulent submission.” Hopper v.

Solvay Pharms., Inc., 588 F.3d 1318, 1326–27 (11th Cir. 2009). To plead with particularity her

false records count under 31 U.S.C. § 3729(a)(1)(B), Zafirov “must identify the particular

document and statement alleged to be false, who made or used it, when the statement was made,

how the statement was false, and what the defendants obtained as a result.” United States ex rel.

Matheny v. Medco Health Solutions, Inc., 671 F.3d 1217, 1225 (11th Cir. 2012). She does neither.

                    1. Zafirov has failed to plead any specific false claims.

       Zafirov has not alleged a single false claim in her Complaint. Nor has she identified one

increased payment that resulted from an allegedly false diagnosis. The Complaint fails to provide

any information essential to allege a false claim: which of the Provider Defendants—much less,

which individual at a specific Provider Defendant—entered a false diagnosis code, when that code

was entered, which of the Medicare Advantage Defendants submitted the code to CMS, or when

it was submitted. She does not plead this information because she does not know it and could not

have known it given her limited scope of employment as a physician with no access to or

knowledge of the Defendants’ billing practices. And, as such, any amendment would be futile.

       Zafirov instead assumes that false claims must have been submitted because FMA

employed “5 Star Checklists” and paid bonuses to some physicians. Yet, untethered allegations of

misconduct that bear no connection to a specific false claim have never been sufficient to pass

muster under Rule 9(b). Nor should they be sufficient now. Zafirov cannot rely on allegedly


                                              Page 4
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 5 of 26 PageID 610




improper practices to support “the inference that fraudulent claims were submitted”; rather, a

“submission must be pleaded with particularity and not inferred from the circumstances.” Corsello,

428 F.3d at 1013. Without showing that the 5 Star Checklists or doctor bonuses “ever converged

to produce an actual false claim,” Zafirov cannot state any False Claims Act violation. Carrel v.

AIDS Healthcare Foundation, Inc., 898 F.3d 1267, 1277 (11th Cir. 2018).

       Even when Zafirov cites examples of patients whose diagnoses were allegedly falsified,

she fails to allege “details related to the submission of a claim to Medicare, such as the date the

claim was submitted or the amount of the payment requested.” See United States v. Fazzi Assocs.,

Inc., No. 1:15-cv-511, 2019 WL 6117299, at *7 (S.D. Ohio Nov. 18, 2019). She does not plead

this because she cannot. She was never involved with billing or submission of any claim by the

Medicare Advantage Defendants. That Zafirov must rely on allegations made “on information and

belief” to support her claim underscores her lack of knowledge. See Compl. ¶¶ 72, 73. Allegations

based “on information and belief” lack the “indicia of reliability” to allege a false claim. See

Corsello, 428 F.3d at 1013–14.

       In short, “[t]he complaint does little more than hazard a guess that [the Medicare Advantage

Defendants] submitted false claims for Medica[re] reimbursement.” Hopper, 588 F.3d at 1326.

Because Zafirov has no “personal knowledge of the payment terms or billing practices,” she cannot

state a False Claims Act violation. United States ex rel. Seal 1 v. Lockheed Martin Corp., 429 F.

App’x 818, 820 (11th Cir. 2011).




                                              Page 5
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 6 of 26 PageID 611




                       2. Zafirov does not plead any false attestations by any of the Provider
                          Defendants.

          Zafirov does no better with her false records claim. This claim appears to be based on

allegedly false attestations submitted by the Provider Defendants or the Medicare Advantage

Defendants to CMS. See Compl. ¶ 42. Under CMS regulations, Medicare Advantage organizations

must attest that their risk adjustment data is complete and accurate to the best of their knowledge,

information, and belief. See 42 C.F.R. § 422.504(l). However, Zafirov does not identify any CMS

regulation requiring providers to make such attestations or allege that any such attestations were

made by any of the Provider Defendants. Zafirov’s failure to identify any attestations, let alone

any knowingly false attestations, requires dismissal of her false records claim. See United States v.

Scan Health Plan, No. CV 09-5013-JFW (JEMx), 2017 WL 4564722, at *6 (C.D. Cal. Oct. 5,

2017). Again, Zafirov fails to plead these facts because she does not know them. No such facts

exist.

    II.      Zafirov has not shown that the allegedly false statements or regulatory violations
             were “material” under Escobar.
          Zafirov also fails to plead that any allegedly false statements were material. She does not

plead materiality because she cannot. As this Court knows, the False Claims Act’s materiality

requirement is “rigorous” and “demanding.” Escobar, 136 S. Ct. at 2002, 2003. The Supreme

Court has held that the materiality requirement should be “strict[ly] enforce[d]” at the motion to

dismiss stage. Id. at 2002, 2004 n.6. Zafirov bears the burden of “pleading facts to support

allegations of materiality.” Id. at 2004 n.6. She has failed to do so.

          The complaint says almost nothing about materiality. Apart from quoting the statutory

definition (Compl. ¶ 25), Zafirov’s two counts against “All Defendants” allege, in conclusory

fashion, that CMS “would have refused to make risk-adjusted payments to the MA Defendants”

had it “been aware of” the “false coding.” Id. ¶¶ 99, 103. The Supreme Court in Escobar
                                                Page 6
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 7 of 26 PageID 612




specifically held such allegations are insufficient. “A misrepresentation cannot be deemed material

merely because the Government designates compliance with a particular statutory, regulatory, or

contractual requirement as a condition of payment. Nor is it sufficient for a finding of materiality

that the Government would have the option to decline to pay if it knew of the defendant’s

noncompliance.” 136 S. Ct. at 2003 (emphasis added).

       Nothing else in the complaint suffices to satisfy the materiality standard. Zafirov does not

identify any express certification either signed by the Provider Defendants or presented to CMS.

Therefore, her complaint against them must rest on an “implied certification” theory. See Escobar,

136 S. Ct. at 2001. To establish False Claims Act liability on this theory, two conditions must be

satisfied: (1) “the claim does not merely request payment, but also makes representations about

the goods or services provided” and (2) “the defendant’s failure to disclose noncompliance with

material statutory, regulatory, or contractual requirements makes those representations misleading

half-truths.” Id. Zafirov cannot satisfy either Escobar condition.

       First, Zafirov has no knowledge of and does not plead a single false diagnosis code that the

Provider Defendants presented to CMS. The complaint contains allegations about only five

patients with allegedly false diagnosis codes that were (in passive tense) “billed” or “submitted.”

Compl. ¶¶ 70, 72, 73, 74, 75. 2 These sparse allegations are insufficient to satisfy the first Escobar

condition. Primarily, the allegation fails because a diagnosis code is not a “request [for] payment.”

Zafirov concedes that “[n]ot all diagnosis codes result in an adjustment in risk score and thus not

all diagnosis codes affect payment.” Compl. ¶ 33. Because she was not involved in any billing or

claim submission while employed at FMA, Zafirov does not tie any of the five allegedly false



       2
         Zafirov’s allegations about inadequate patient care (Compl. ¶¶ 89–90) and physician
bonuses (id. ¶¶ 80–88) have nothing to do with claims for payment from the government and thus
cannot lead to False Claims Act liability.
                                            Page 7
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 8 of 26 PageID 613




diagnosis codes to a specific Provider Defendant or explain how any false code made its way from

a Provider Defendant, through a Medicare Advantage insurer, to CMS. Even assuming that the

five diagnosis codes were “false,” the complaint is devoid of any allegation that a misdiagnosis

resulted in a higher risk score for a patient or a higher capitated payment in the following year.

Nitpicking “only a subset of a subset of the data” reported to CMS under a program as complex as

risk scoring cannot satisfy the materiality requirement. United States ex rel. Janssen v. Lawrence

Mem’l Hosp., 949 F.3d 533, 543–44 (10th Cir. 2020).

       Second, Zafirov does not identify any “material statutory, regulatory, or contractual

requirement” that the Provider Defendants violated. Escobar, 136 S. Ct. at 2001. She contends that

the “MA Defendants” breached their overpayment obligations established by the 2013 Medicare

Managed Care Manual. Compl. ¶ 92. This Manual, though, is not a statute, not a regulation, and

not a contract. It is non-binding guidance provided to the Medicare Advantage Defendants, not the

Provider Defendants. With no allegation that any Provider Defendant violated any statute,

regulation, or contractual requirement that was material to CMS’s payment decisions, Zafirov’s

claims fail for lack of materiality. See United States ex rel. Rasmussen v. Essence Grp. Holdings

Corp., No. 17-3273-CV-S-BP, 2020 WL 4381771, at *5–7 (W.D. Mo. Apr. 29, 2020).

       Zafirov is unsuccessful at making a False Claims Act case from general criticisms of the 5

Star Checklists. There is nothing wrong or illegal in using chart review to fully assess the health

risks that any given patient poses to an insurance pool. See Rasmussen, 2020 WL 4381771, at *4–

*5 (citing Untied States ex rel. Gray v. UnitedHealthcare Ins. Co., No. 15-cv-7137, 2018 WL

2933674, at *7 (N.D. Ill. Jun. 12, 2018)). CMS has repeatedly investigated and approved chart

review as a means of collecting diagnosis codes, notwithstanding its concerns that such review

could increase payments. See HHS OIG, Billions in Estimated Medicare Advantage Payments


                                              Page 8
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 9 of 26 PageID 614




from Chart Reviews Raise Concerns 4 (Dec. 2019), https://oig.hhs.gov/oei/reports/oei-03-17-

00470.asp (stating that MAOs “may employ third-party vendors to examine beneficiaries’ medical

records by using staff with clinical or coding experience or by using artificial intelligence software.

MAOs may report diagnoses identified by these reviews to the encounter data as chart review

records . . . .”); CMS, Announcement of Calendar Year (CY) 2016 Medicare Advantage Capitation

Rates and Medicare Advantage and Part D Payment Policies and Final Call Letter 34 (Apr. 6,

2015), https://www.cms.gov/Medicare/Health-Plans/MedicareAdvtgSpecRateStats/Downloads/

Announcement2016.pdf (noting that encounter data system to which CMS is transitioning “accepts

diagnoses obtained through chart review”).

       Zafirov also cannot establish materiality because CMS knows about diagnosis coding

errors yet continues to pay, both generally and in this case. Generally, in the Medicare Advantage

context, the government is aware that there is a margin of error built into claims data submitted to

it and the government expressly accounts for this error. See UnitedHealthcare Ins. Co. v. Azar,

330 F. Supp. 3d 173, 180 (D.D.C. 2018). More specifically to this case, CMS—through review of

annual Independent Review Organization reports—audits the Medicare Advantage insurers here

as part of the Sewell settlement and Corporate Integrity Agreement. See Exhibit A, at App’x C.

This includes their diagnosis codes. Id. CMS continues to pay capitated payments every year,

despite the allegations in Sewell and here. The government’s decision to continue paying capitated

payments to the Medicare Advantage insurers here belies any allegation that erroneous or false

diagnosis codes are material. 3 “[I]f the Government pays a particular claim in full despite its actual



       3
          Further, even if there was a concern with certain diagnoses codes (which there is not)
CMS’ own guidance provides a six-year lookback for the remittance of any overpayments. See
CMS, Guidance for Reporting and Returning Medicare Advantage Organization and/or Sponsor
Identified Overpayments to the Center for Medicare & Medicaid Services 3 (Feb. 18, 2015),

                                               Page 9
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 10 of 26 PageID 615




 knowledge that certain requirements were violated, that is very strong evidence that those

 requirements are not material.” Escobar, 136 S. Ct. at 2003.

           Finally, the government’s decision not to intervene shows that any allegedly incorrect

 diagnosis coding was not material. See Doc. 40 (government’s notice of election to decline

 intervention); Polansky v. Executive Health Res., 422 F. Supp. 3d 916, 938 (E.D. Pa. 2019) (“Post-

 Escobar, numerous federal courts have found insufficient FCA materiality where the government

 investigated a relator’s allegations but chose not to intervene or otherwise address the defendant’s

 allegedly improper behavior.”). The government has investigated Zafirov’s allegations and

 declined to take action, either in this qui tam action or under the Corporate Integrity Agreement

 from Sewell. Zafirov therefore cannot plausibly allege that any of the Defendants’ actions affected

 the government’s payment decision.

    III.      Zafirov’s claims are implausible.

           The complaint also fails because its allegations about both false claims and false records

 are implausible.

              A. Zafirov cannot plausibly allege the Provider Defendants caused the presentment of
                 any false claims or caused the government to pay any false claims.

           Zafirov’s theory of “fraud” is that the Provider Defendants’ business practices caused

 physicians to improperly diagnose patients. Her primary focus is on the 5 Star Checklists. The 5

 Star Checklists gather available information about a patient’s potential current medical conditions

 in a single place for physicians to review as they evaluate a patient. This information is gathered

 by algorithms that aggregate historical data in a patient’s medical charts to identify possible disease

 conditions for physicians to consider and, if appropriate, evaluate using their independent clinical



 https://csscoperations.com/internet/cssc3.nsf/files/Overpayment%20Memo02182015.pdf/$FIle/O
 verpayment%20Memo02182015.pdf.
                                              Page 10
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 11 of 26 PageID 616




 judgment. Zafirov’s theory is that the 5 Star Checklists cause the Provider Defendants’ physicians

 to write incorrect diagnoses. This theory is implausible as (1) physician judgment, not a checklist,

 reigns supreme in medical decision-making and (2) even if there was “pressure” to apply incorrect

 diagnosis codes—which there was not—the chain of causation is too attenuated to support liability.

                      1. Physician judgment is the starting—and ending—point for medical
                         diagnoses.

        Zafirov’s theory is not plausible. A physician uses her medical judgment, not a checklist,

 to diagnose patients. Zafirov admits that 5 Star Checklists are not diagnoses; they are simply a list

 of potential medical conditions based on information in a patient’s medical files. See Compl.

 ¶¶ 55–56. She asserts that patients sometimes do not suffer from certain conditions included on

 the Checklist. But her allegations highlight the fact that a physician must ultimately bring her

 medical judgment to bear to form a diagnosis. This is exactly what Zafirov allegedly did. See

 Compl. ¶¶ 67, 70, 71, 72. By way of analogy, Westlaw may suggest authorities based on a

 researcher’s search terms. But a lawyer must read and analyze those authorities to decide whether

 to cite them in her brief. Like Westlaw’s “smart” search results, 5 Star Checklists are created by

 filtering large amounts of data to identify conditions that a physician might consider in forming

 her professional opinion. Ultimately, however, the physician must decide on the appropriate

 diagnosis, as the lawyer must decide on which cases to cite in her brief.

        It is telling that Zafirov has not alleged that the 5 Star Checklists or any of the Defendants’

 other allegedly improper practices interfered with any physician’s medical judgment. To the

 contrary, her allegations reveal the opposite. Zafirov notes that her employment agreement gives

 her exclusive control over her medical judgment and nothing in the agreement interferes with her

 professional autonomy. Compl. ¶ 81. It is also clear from the Complaint that Zafirov was

 exercising her professional judgment by rejecting 5 Star Checklist’s data points.

                                               Page 11
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 12 of 26 PageID 617




         Zafirov is equally unsuccessful in her allegation that the Provider Defendants caused

 physicians to schedule medically unnecessary visits with patients for the sole purpose of obtaining

 diagnosis codes. Compl. ¶ 49.a. Unlike fee-for-service Medicare, CMS does not pay the Provider

 Defendants for each visit. Additional visits cost providers and insurers more money. If the

 Defendants’ only goal were to capture codes, they would not need to schedule regular visits—they

 could capture all codes in a single visit. What is more, Zafirov cannot square her claims about

 unnecessary visits with her later suggestion that the defendants withheld necessary care from

 patients. 4 Zafirov’s theories are therefore not plausible. See Rasmussen, 2020 WL 4381771, at *4

 (holding that alleged “medically unnecessary” office visits “cannot support a claim under the

 FCA” because CMS is not billed for them).

         Physicians exercising medical judgment make diagnoses. Zafirov does not allege that

 anyone forced her (or anyone else) to misdiagnose a patient. Nor does she allege that the business

 practices she faults caused a physician to change a diagnosis code. Thus, these allegations must

 fail for lack of plausibility.

                         2. Zafirov’s Theory Establishes a Far Too Attenuated Theory of Causation

         Zafirov’s theory of presentment of false claims is implausible for a second reason: it simply

 stretches the theory of causation too far. As noted above, the ultimate diagnosis of any patient turns

 on the physician’s clinical judgment. No claim can be submitted unless a physician herself signs

 off on the diagnosis.

         Notwithstanding this, Zafirov seeks to shift liability to the Provider Defendants, who do

 not have contracts with CMS and do not present any diagnosis codes to CMS. Physician Partners



         4
           Zafirov’s allegations concerning the quality of patient care have no bearing on her claims
 that the defendants submitted false diagnosis codes to the government. The Court should disregard
 those allegations.
                                               Page 12
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 13 of 26 PageID 618




 and FMA submit diagnosis codes to the Medicare Advantage Defendants, but these diagnosis

 codes are not requests for payment. As Zafirov acknowledges, “[n]ot all diagnosis codes result in

 an adjustment in risk score and thus not all diagnosis codes affect payment.” Compl. ¶ 33. Raw

 diagnosis codes do not entitle Physician Partners, the only Provider Defendant in privity with

 Freedom or Optimum, to receive payment, either from a Medicare Advantage Defendant or the

 government. Moreover, raw diagnosis codes are meaningless for risk adjustment purposes.

        Before a diagnosis code can even possibly lead to increased payment, Medicare Advantage

 insurers must subject these codes to multiple levels of processing and review. Medicare Advantage

 insurers must verify that the code came from one of three acceptable data sources: a hospital

 inpatient stay, an outpatient facility, or a physician. CMS, Pub. No. 100-16, Medicare Managed

 Care       Manual,    ch.    7,    §    120     (2014),     https://www.cms.gov/Regulations-and-

 Guidance/Guidance/Manuals/Downloads/mc86c07.pdf. They must then format the codes along

 with four other data points (claim number, service from date, service through date, and provider

 type) into “diagnosis clusters” for submission to the Risk Adjustment Processing System (RAPS).5




        5
           CMS also uses the Encounter Data Processing System (EDPS), to translate diagnosis
 codes into risk adjustment data. See CMS, Encounter Data Submission and Processing Guide 11
 (2018),     https://www.csscoperations.com/internet/cssc4.nsf/files/ED_Submission_Processing_
 Guide.pdf/$FIle/ED_Submission_Processing_Guide.pdf. The EDPS relies on “encounter data,”
 which is “data representing each item and service provided to a Medicare Advantage enrollee,” to
 calculate risk adjustment scores. Id. at ch. 1.1. Like the RAPS, the EDPS also contains multiple
 levels of review and processing as it translates diagnosis data into risk adjustment data. See id. at
 Figure 1.1; ch. 1.3. Although CMS seeks to rely more heavily on the EDPS to calculate risk scores
 going forward, the RAPS was the primary determinant of Medicare Advantage patients’ risk scores
 during the relevant timeframe. See CMS, 2021 Medicare Advantage and Part D Advance Notice
 Part II Fact Sheet (Feb. 5, 2020), https://www.cms.gov/newsroom/fact-sheets/2021-medicare-
 advantage-and-part-d-advance-notice-part-ii-fact-sheet (explaining that the RAPS accounted for
 75–90 percent of patients’ risk scores between 2015 and 2019). Thus, this brief’s focus is on the
 RAPS.
                                               Page 13
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 14 of 26 PageID 619




 Id. Medicare Advantage insurers then “submit the five data elements in the RAPS format . . . to

 the Front End Risk Adjustment System (FERAS) for initial edit checks.” Id.

        FERAS and RAPS are the first layer of Medicare Advantage insurers’ array of tools to

 verify their risk adjustment data. After Medicare Advantage insurers submit diagnosis clusters,

 FERAS and RAPS generate various reports identifying errors and showing the disposition of

 entered data “so plans can verify their data and project their payment.” Id. Medicare Advantage

 insurers review these reports to identify and correct errors, including duplicate diagnosis clusters.

 See id. § 120.2.5. After editing, “[f]inalized diagnosis clusters are stored in the RAPS database and

 used for the calculation of risk scores.” Id. § 120. CMS also generates several reports, including

 Monthly Membership Reports and Model Output Reports, for insurers to verify their data. See id.

 § 120.3.

        This multi-layered processing and review system breaks any causal link between the

 Provider Defendants’ raw diagnosis codes and the finalized risk adjustment data the Medicare

 Advantage Defendants submit for payment. This alone requires dismissal of the direct false claims

 count, because the Provider Defendants could not have “[themselves] submitt[ed] or directly

 caus[ed] the submission of a false claim.” Hopper, 588 F.3d at 1329. See also United States ex rel.

 Bane v. Breathe Easy Pulmonary Servs., Inc., 597 F. Supp. 2d 1280, 1292 (M.D. Fla. 2009) (stating

 that there must be “a strong and direct causal link between the defendant’s actions and the

 submission of a false claim” and holding that link was missing where downstream entity “had no

 control over” Medicare entity’s claims procedures, “gave no suggestion or instruction . . .

 regarding its Medicare submissions, and in no way participated in . . . submission of bills to

 Medicare”).




                                               Page 14
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 15 of 26 PageID 620




         Moreover, an incorrect diagnosis code itself does not lead to increased payment. Diagnoses

 are classified according to severity “so that a person is coded only for the most severe manifestation

 among related diseases.” CMS, Report to Congress: Risk Adjustment in Medicare Advantage 17

 (Dec.     2018),     https://www.cms.gov/Medicare/Health-Plans/MedicareAdvtgSpecRateStats/

 Downloads/RTC-Dec2018.pdf. The CMS-HCC also excludes diagnoses that are vague or

 nonspecific (like symptoms), discretionary, medically insignificant, and transitory or definitively

 treated. Id. at 19. The model also considers demographic information, like sex and age. Id. at 20.

 The ultimate capitated payment is a complex multi-dimensional calculus that does not turn on any

 single input. CMS takes into account geography, the bid submitted by the insurer, the number of

 patients, and other factors in deciding the capitation rate to an insurer. See Azar, 330 F. Supp. 3d

 at 178; 42 C.F.R. § 422.308. Due to this complex calculus, any causal link between an incorrect

 diagnosis and an increased payment is too attenuated to support Zafirov’s theory of false claims.

            B. Zafirov has not plausibly alleged any objectively false claims or records.

         Zafirov has not shown that any of the Provider Defendants’ diagnosis codes were

 objectively false. As the Eleventh Circuit recently held, for a claim to be “false” under the False

 Claims Act, a relator “must show an objective falsity.” United States v. AseraCare, Inc., 938 F.3d

 1278, 1298 (11th Cir. 2019). In the context of medical judgments like the diagnoses at issue here,

 “a reasonable difference of opinion among physicians reviewing medical documentation ex post is

 not sufficient on its own to suggest that those judgments—or any claims based on them—are false

 under the FCA.” Id. at 1297. Zafirov’s disagreements with the potential diagnoses identified by

 the 5 Star Checklists and ultimately diagnosed by other physicians do not plausibly allege any

 objectively false claims or records. Zafirov’s second-guessing other physicians cannot be the basis

 of a False Claims Act violation.


                                               Page 15
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 16 of 26 PageID 621




           Zafirov’s references to allegedly improper corporate practices likewise do not state any

 objectively false claims. Zafirov must show that “the clinical judgment on which the claim is based

 contains a flaw that can be demonstrated through verifiable facts.” Id. She cannot do this by merely

 second-guessing other physicians and questioning the Provider Defendants’ business practices.

     IV.      Because there is analogous qui tam action pending in this District, the Court
              should dismiss this case under the FCA’s first-to-file rule.

           Under the False Claims Act’s “first-to-file” bar, “[w]hen a person brings an action under

 [the FCA], no person other than the Government may intervene or bring a related action based on

 the facts underlying the pending action.” 31 U.S.C. § 3730(b)(5). In other words, the first-to-file

 bar only “permits courts to exercise jurisdiction over the first privately-commenced qui tam claim

 filed based on a particular set of facts.” Makro Capital of Am. v. UBS AG, 543 F.3d 1254, 1257

 (11th Cir. 2008) (emphasis added). If another, similar qui tam action is already pending, no further

 actions lie. Courts assess similarity “by comparing the complaints side-by-side, and asking

 whether the later complaint ‘alleges a fraudulent scheme the government already would be

 equipped to investigate based on [the first] [c]omplaint.’” See United States ex rel. Heath v. AT&T,

 Inc., 791 F.3d 112, 121 (D.C. Cir. 2015) (quoting United States ex rel. Batiste v. SLM Corp., 659

 F.3d 1204, 1209 (D.C. Cir. 2011)).

           That is likely the case here. The Court unsealed this case at least in part because the United

 States “cit[ed] the existence of a similar, sealed qui tam action in the Middle District of Florida.”

 See Doc. 8, at 1. In the government’s view, that “similar, sealed qui tam action” is apparently

 analogous enough to “equip it” to investigate Zafirov’s instant allegations. See Heath, 791 F.3d at

 121. That first-filed action likely strips this Court of jurisdiction under the first-to-file bar.

           That the other case remains under seal does not change the analysis because sealed cases

 also trigger the first-to-file rule. See United States ex rel Wilson v. Bristol-Myers Squibb, Inc., 750
                                                 Page 16
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 17 of 26 PageID 622




 F.3d 111, 117 (1st Cir. 2014); United States ex rel. Bartz v. Ortho-McNeil Pharm., 856 F. Supp.

 2d 253, 268 (D. Mass. 2012) (“[A] sealed Complaint is considered for purposes of the first-to-file

 bar.”); see also United States ex rel. Carter v. Halliburton Co., 144 F. Supp. 3d 869, 872 (E.D.

 Va. 2015) (acknowledging that “a sealed action . . . destroyed this Court’s subject matter

 jurisdiction due to the first-to-file bar”). Instead of continuing under questionable jurisdiction, the

 Court should dismiss this case. 6

    V.       Because Zafirov’s case hinges on information publicly disclosed years ago, the
             False Claims Act’s public disclosure bar requires dismissal.

         The public disclosure bar is an independent reason Zafirov’s complaint fails. Like the first-

 to-file bar, which forecloses copycat claims, the False Claims Act contains a public disclosure bar

 that prevents plaintiffs from bringing “parasitic lawsuits” based on publicly available information.

 Cooper v. Blue Cross and Blue Shield of Fla., Inc., 19 F.3d 562, 565 (11th Cir. 1994) (quoting

 legislative history). Under the public disclosure bar, 7 the Court “shall dismiss an action or claim”

 whenever “substantially the same allegations or transactions as alleged in the action or claim were

 publicly disclosed” in any of three ways: (1) a federal hearing in which the government is a party;

 (2) in a federal report, hearing, audit, or investigation; or (3) from the news media. See 31 U.S.C.

 § 3730(e)(4).



         6
            At minimum, the Court should stay this litigation until additional information about this
 “similar, sealed qui tam action” is revealed. Cf. Samson v. United HealthCare Servs., Inc., No.
 C19-0175JLR, 2020 WL 3971390, at *6–7 (W.D. Wash. July 14, 2020) (staying subsequent
 litigation “under the first-to-file rule due to potential issues” overlapping with the still-uncertain
 first action) (citing Baatz v. Columbia Gas Transmission, LLC, 814 F.3d 785, 795 (6th Cir. 2016)).
         7
           Though Congress amended the False Claims Act’s public disclosure bar in 2010, the
 “change is not significant.” Bellevue v. Univ. Health Servs. of Hartgrove, Inc., 867 F.3d 712, 718
 (7th Cir. 2017) (observing that the amendment accords with the pre–existing interpretation “of this
 circuit and most other circuits.”). The Eleventh Circuit adopted the pre-amendment public
 disclosure bar test, with minor modifications. See United States ex rel. Osheroff v. Humana, Inc.,
 776 F.3d 805, 812 (11th Cir. 2015) (reaffirming the Cooper three–part public disclosure bar test).
                                               Page 17
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 18 of 26 PageID 623




        The public disclosure bar “prevents opportunistic suits by private persons who heard of

 fraud but played no part in exposing it.” See Cooper, 19 F.3d at 565. Under the Eleventh Circuit’s

 three-part test, the public disclosure bar requires dismissal if: (A) “the allegations made by the

 plaintiff [have] been publicly disclosed,” (B) that “disclosed information” is “substantially the

 same” as the plaintiff’s allegations, and (C) the plaintiff is not “an ‘original source’ of that

 information.” See United States ex rel. Osheroff v. Humana, Inc., 776 F.3d 805, 812 (11th Cir.

 2015). Zafirov’s case is copied and pasted from old lawsuits and national media coverage; thus,

 this is a quintessential example of an “opportunistic suit[] by [a] private person who heard of fraud

 but played no part in exposing it.” Cooper, 19 F.3d at 565.

            A. Zafirov’s allegations were publicly disclosed.

        Under Cooper, the first question is “whether the allegations or transactions at issue were

 publicly disclosed.” Humana, 776 F.3d at 812. Under each of the False Claim Act’s three public

 disclosure paradigms, these allegations have been “publicly disclosed.” They were discussed in

 (1) prior federal hearings, (2) prior federal reports, hearings, audits, and investigations, and (3) the

 news media.

        First, these allegations appeared in a prior civil hearing in which the Government was a

 party. 31 U.S.C. § 3730(e)(4)(A)(i). The Sewell case, which Zafirov refers to in her complaint,

 involved indistinguishable allegations that Freedom, Optimum, Pagidipati, and others “knowingly

 submit[ed] incorrect and unsubstantiated risk adjustment data to CMS in order to fraudulently

 increase their capitation payments.” Compare United States ex rel. Sewell v. Freedom Health, Inc.,

 et al., No. 8:09-cv-1625-T-35TGW (M.D. Fla.), Doc. 44, Second Am. Compl. ¶ 9 with Compl. ¶

 47 (Defendants caused “submission of false and unsubstantiated risk adjustment data to CMS in

 order to unlawfully increase their capitation payments.”). Because the United States was a party


                                                Page 18
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 19 of 26 PageID 624




 to that suit, everything it revealed was “publicly disclosed” within the meaning of the statute. See

 31 U.S.C. § 3730(e)(4)(A)(i).

        Second, these allegations were also publicly disclosed in prior government investigations,

 reports, and audits. 31 U.S.C. § 3730(e)(4)(A)(ii). CMS and industry groups have been in

 conversation about incorrect diagnosis coding for a decade. When CMS proposed RADV audits,

 Medicare Advantage insurers quickly made the agency aware of imperfections in risk adjustment

 data. This prompted CMS to create the Fee-for-Service Adjuster to account for errors. See Azar,

 330 F. Supp. 3d at 179–80. Moreover, the challenges of ensuring accurate and complete diagnosis

 data are the subject of an ongoing conversation between CMS and industry groups regarding risk

 adjustment payment methodology. See CMS, Announcement of Calendar Year (CY) 2019

 Medicare Advantage Capitation Rates and Medicare Advantage and Part D Payment Policies and

 Final Call Letter 54–56 (Apr. 2, 2018), https://www.cms.gov/MEDICARE/HEALTH-

 PLANS/MEDICAREADVTGSPECRATESTATS/DOWNLOADS/ANNOUNCEMENT2019.P

 DF; CMS, Announcement of Calendar Year (CY) 2016 Medicare Advantage Capitation Rates and

 Medicare Advantage and Part D Payment Policies and Final Call Letter 33–35 (Apr. 6, 2015),

 https://www.cms.gov/Medicare/Health-Plans/MedicareAdvtgSpecRateStats/Downloads/

 Announcement2016.pdf. Zafirov’s Complaint does not reveal anything the government does not

 already know.

        Third, and finally, these allegations were publicly disclosed in the news media. 31 U.S.C.

 § 3730(e)(4)(A)(iii). When Sewell ultimately settled, 8 it generated significant press coverage. The



        8
           Importantly, the Sewell settlement agreement contained an express disclaimer of
 wrongdoing or liability. As Pagidipati stated at the time of settlement, the parties “agreed to
 disagree without any admission of liability to avoid the time and expense of prolonged litigation.”
 Margie Manning, Kiran Patel’s Health Insurance Firms Agree to $32M Settlement with the Feds,

                                              Page 19
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 20 of 26 PageID 625




 New Yorker featured a multi-page unpacking of the Sewell allegations. See Sheelah Kolhatkar, The

 Personal Toll of Whistle-Blowing, The New Yorker, Jan. 28, 2019. “Freedom pressured doctors to

 schedule unnecessary appointments,” The New Yorker revealed, “and to assign additional codes

 that the internal data miners thought would be more profitable.” Id. Accord Compl. ¶ 45 (alleging

 Defendants “caused physicians to bring members in for medically unnecessary office visits” and

 “submit as many phony diagnosis codes as possible”). Other national news media covered the

 allegations. See Fred Schulte, Medicare Advantage Insurer Settles Whistleblower Suit for $32

 Million, NPR (May 31, 2017), https://www.npr.org/sections/healthshots/2017/05/31/530868367/

 medicare-advantage-insurers-settle-whistleblower-suit-for-32-million. Zafirov’s allegations are

 old news. Thus, the first prong of the Cooper test—“public disclosure”—is established.

            B. Zafirov’s allegations are substantially similar to, and often word-for-word pulled
               from, publicly disclosed information.

        Zafirov’s allegations are cut from the same cloth as the publicly disclosed information.

 After establishing public disclosure, Cooper next asks “whether the complaint’s allegations are

 ‘substantially the same’ as the publicly disclosed allegations or transactions.” Humana, 776 F.3d

 at 814. Because “the FCA ‘is most naturally read to preclude suits based in any part on public[ly]

 disclosed information,” this is not an especially demanding inquiry. See Battle v. Bd. of Regents

 for Ga., 468 F.3d 755, 762 (11th Cir. 2006) (emphasis in original). Under this prong’s “quick

 trigger,” it is more than enough that there is “significant overlap” between the complaint and public

 disclosures. Humana, 776 F.3d at 814.

        Zafirov’s claims are more than substantially similar. They are often the same, word-for-

 word, as earlier public disclosures. Comparing this complaint with the Sewell complaint shows



 Tampa Bay Times Journal (May 31, 2017), https://www.bizjournals.com/tampabay/news/
 2017/05/31/kiran-patel-s-health-insurance-firms-agree-to-32m.html.
                                             Page 20
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 21 of 26 PageID 626




 that the core claims (that insurance providers, providers, and physicians improperly inflated

 capitation payments) and defendants (including Optimum, Freedom, and Pagidipati) in the two

 lawsuits are the same. A side-by-side comparison of the two complaints underscores just how

 much Zafirov took from Sewell.

  Sewell Second Amended Complaint                   Zafirov’s Current Complaint

  Defendants “knowingly submit incorrect and        Defendants “result[ed] in the submission of
  unsubstantiated risk adjustment data to CMS in    false and unsubstantiated risk adjustment data
  order to fraudulently increase their capitation   to CMS in order to unlawfully increase their
  payments” (¶ 9)                                   capitation payments” (¶ 47)

  Defendants “scour medical records looking for Defendants “scour medical records looking for
  ‘missing’ diagnosis codes” to submit” to CMS ‘missing’ diagnosis codes” to submit to CMS
  (¶ 109)                                       (¶ 49)

  Defendants “cause their physicians to bring in    Defendants “caused physicians to bring
  certain members for medically unnecessary         members in for medically unnecessary office
  office visits with members for the sole purpose   visits for the sole purpose of capturing
  of capturing diagnosis codes. The office visits   diagnosis codes. These visits were not for the
  are not . . . for the benefit of the patient.     benefit of the patient. Instead, the Defendants
  Instead, [Defendants] cause these visits to       caused these visits to happen solely for the
  happen solely for the purpose of fraudulently     purpose of increasing risk adjustment-based
  increasing their risk adjustment-based            reimbursement.” (¶ 49.a).
  reimbursement.” (¶ 113)

        Zafirov’s allegations more than “significant[ly] overlap” with this public information.

 Humana, 776 F.3d at 814. They are virtually identical to those in Sewell. Simply put, this is Sewell

 redux, with Zafirov apparently hoping to reap her own bounty from practices the government has

 already resolved and will continue to audit through independent third parties through 2022.




                                              Page 21
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 22 of 26 PageID 627




             C. Zafirov is not the original source of the allegations.

          Finally, Zafirov cannot show she is an “original source” to avoid application of the public

 disclosure bar, because she has not and cannot prove that she either (1) voluntarily disclosed

 everything in her complaint to the government before the original public disclosure (e.g., Sewell)

 or (2) has “independent” knowledge which “materially adds” to the public disclosures and that she

 has voluntarily provided all such information to the government before filing this action. 31 U.S.C.

 § 3730(e)(4)(B).

          As such, because each and every prong of the Cooper public disclosure test is satisfied,

 this Court should dismiss the complaint.

    VI.      The government action bar blocks Zafirov’s case.

          As another basis for dismissal, the False Claims Act’s “government action bar” blocks qui

 tam suits “based upon allegations or transactions which are the subject of a civil suit or an

 administrative civil money penalty proceeding in which the Government is already a party.” See

 31 U.S.C. § 3730(e)(3) (the government action bar). For these purposes, an action is “based upon”

 an earlier government-related action “if the relator’s case is receiving support, advantage, or the

 like from the ‘host’ case . . . .” Sturgeon v. Pharmerica Corp., 438 F. Supp. 3d 256, 262 (E.D. Pa.

 2020) (internal quotation marks and citations omitted). Because the “inquiry is essentially a test of

 factual similarity,” courts look “for signs of a host/parasite relationship” between the earlier action

 and later one. Id. (quotation omitted). In a nutshell, “[i]f a relator’s allegations are the same” as

 already-made allegations, “or are similar enough to be characterized as feeding off the

 government’s allegations, the government action bar applies.” Id. “Piggy-back qui tam lawsuits,”

 like this one, which “seek[] to remedy ‘fraud’ arising from a situation previously addressed by the




                                                Page 22
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 23 of 26 PageID 628




 government,” cannot clear the government action bar. See United States ex rel. Stone v. AmWest

 Sav. Ass’n, 999 F. Supp. 852, 855–56 (N.D. Tex. 1997).

        Sewell triggers the government action bar. “If an allegation of fraud has already been made”

 in the earlier government-involved action, “the analysis is straightforward.” See United States ex

 rel. Absher v. Momence Meadows Nursing Ctr., Inc., 764 F.3d 699, 708 (7th Cir. 2014). Zafirov

 pulls her allegations wholesale from Sewell, making her case a textbook “parasite” to Sewell’s

 “host.” Sturgeon, 438 F. Supp. 3d at 262. The whole point of the government action bar is to

 forestall “parasitic qui tam lawsuits that receive support from an earlier case without giving the

 government any useful return,” beyond “additional monetary recovery.” Pacult v. Walgreen Co.,

 No. 08-cv-542-SLC, 2011 WL 13209584, at *10 (W.D. Wis. June 14, 2011) (observing that there

 is “no useful return to the government” if, as here, the “government decline[s] to intervene in [the]

 second qui tam action”). Because that is precisely the case here, Zafirov’s case fails.

        Leave to Amend Would Be Futile

        As explained repeatedly above, allowing Zafirov to amend the complaint will not fix her

 lack of knowledge. Relators like Zafirov who observe allegedly improper practices but are not

 involved in submitting claims lack the knowledge of corporate billing and claims processing

 required to state a False Claims Act violation. See Klusmeier v. Bell Constructors, Inc., 469 F.

 App’x 718, 721 (11th Cir. 2012) (holding that relators that observe contract violations but do not

 have first-hand knowledge of billing practices “lack the type of knowledge that normally will

 support an FCA complaint”). Because Zafirov has left FMA, and because her role while there did

 not involve claim submission, she cannot cure the fact that she has no personal knowledge of

 payment and billing practices. See Seal 1, 429 F. App’x at 820 (stating that failure to allege “any

 personal knowledge of the payment terms or billing practices . . . . is fatal to [a] FCA complaint”);


                                               Page 23
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 24 of 26 PageID 629




 see also United States ex rel. Shurick v. Boeing Co., 330 F. App’x 781, 784 (11th Cir. 2009)

 (affirming dismissal of FCA complaint because relator “lack[ed] personal knowledge of the

 invoices and fails to allege facts that establish that invoices were actually submitted to the

 government”). Zafirov is hoping to get around her lack of knowledge with discovery. But “[t]he

 particularity requirement of Rule 9 is a nullity if Plaintiff gets a ticket to the discovery process

 without identifying a single claim.” United States ex rel. Atkins v. McInteer, 470 F.3d 1350, 1359

 (11th Cir. 2006) (quotation omitted). Zafirov should not be allowed to impose the burden and

 expense of discovery on Defendants in an attempt to cure her lack of knowledge. See Bell Atl.

 Corp. v. Twombly, 550 U.S. 544, 560 (2007). For this reason, dismissal should be with prejudice.

 See United States ex rel. McFarland v. Florida Pharmacy Solutions, 358 F. Supp. 3d 1316, 1331

 (M.D. Fla. 2017) (dismissing False Claims Act complaint with prejudice where pleadings showed

 that the relator “lacks both specific knowledge about the submission of a consultation claim and

 access to information about a physician’s submission of a consultation claim”).

                                          CONCLUSION

        For all of the foregoing reasons, the Provider Defendants respectfully submit that Zafirov’s

 Complaint should be dismissed with prejudice.




                                              Page 24
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 25 of 26 PageID 630




       Dated: September 23, 2020



                                    Respectfully submitted,


                                    /s/ A. Lee Bentley, III
                                    A. Lee Bentley III
                                    Florida Bar No. 1002269
                                    Jason P. Mehta
                                    Florida Bar No. 106110
                                    Kyle W. Robisch
                                    Florida Bar No. 113089
                                    BRADLEY ARANT BOULT CUMMINGS LLP
                                    100 North Tampa Street, Suite 2200
                                    Tampa, Florida 33602
                                    Tel: (813) 559-5500
                                    Facsimile: (813) 229-5946
                                    Primary E-mail: lbentley@bradley.com
                                    Primary E-mail: jmehta@bradley.com
                                    Primary E-Mail: krobisch@bradley.com
                                    Secondary E-Mail: dmills@bradley.com

                                    Counsel for Defendants Florida Medical Associates,
                                    LLC, Physician Partners, LLC, Physician Partners
                                    Specialty Services, LLC, Sun Labs USA, Inc., Anion
                                    Technologies, LLC




                                   Page 25
Case 8:19-cv-01236-KKM-SPF Document 50 Filed 09/23/20 Page 26 of 26 PageID 631




                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 23, 2020, I filed the foregoing with the Court’s electronic
 filing system, which will cause a copy to be served upon all counsel of record.


                                                /s/ A. Lee Bentley, III
                                                OF COUNSEL




                                               Page 26
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